        Case 2:18-cv-00020-LGW-BWC Document 27 Filed 09/12/18 Page 1 of 4

                                                           no   o <^"-£0 COURT
                                                           U.S. DISTRICT
                                                              BRUNSVyiCK DIV
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         l^d                                              CLERK
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                Case 2:18-cv-00020-LGW-BWC Dr.
                                            Document        27 Filed 09/12/18
                                               Michael J.Dunn             Dr.RalphPage    2 of 4
                                                                                   W. Morales
                                                Bosrd-Cert'ied:American Board OfthopeedicSurgeiy      Board-Certified:American Board ofOrthopaedicSurgery
                                           fellowship TrainedmHand, t^per Extremity& Microsurgery Fellowship Trainedin Sports Medicine at the Hughston Clinic R. Blake Bufren^i
                SOUTHERN                    Certifiticale OfAdded Qualifiation ForSurgery OfThe Hand Fellow ofthe American Academy ofOrthopaedic Surgeons         Physician Assistairt
                ORTHOPAEDICS               Fellow ofthe American AcademyofOrthopaedicSurgeons
                aSPORTS MEDICINE                                                                                                                              Richard C.Sipe, PA
                                                         Dr.J.Kevin Brooks                                        Dr. Raymond F.Topp                               Physician Assistant
                                                 Board-Certified:American Board Orthopaedic                   Board-Certified:American Board Surgery
                                                 Surgery Comprehensive OrthopaedicSurgery                       Fellowship Trained in SpinalSurgery
           A Joint Effort                  Fellow ofthe American Academy ofOrthopaedic Surgeons      fellow ofthe American Academy ofOrthopaedic Surgeons
                                                                                                                                                               Mark Dunham NP'
                                                                                                                                                                    Nurse Practitioner




                                                  WORK STATUS
Attention: lore^fi                                                                Phone:

                                                                                   FAX:                                                 S3??
Patient:                          le,e^                                                           DOB                                       Date:                          15

WC Claim Number:                                                                                Next Visit: H                         days..(^ek^as needed
                                                                                                                                       after MRI...after Surgery

Return to regular Job? □ Yeslj^ No              Continue / as of


Return to light Duty: ^ Yes □ No           Continue / as of:


Restrictions:     None


Restrictions Other:

            No use of R or L upper extremity                                                 No prolonged standing

           No overhead work                                                                  No use of firearms


           . No lifting >   ICs    lbs.                                                      Desk Job only

            No repeated pushing or pulling                                                   No driving

            No climbing: steps / ladders                                                     Brace required while ambulating

            No squatting /kneeling /                                                         Crutches or brace needed while
            crawling                                                                         standing

            No running /jumping /marching

   Additional Restrictions:




    Physician Signature:.                                                                                         Date      : 6/6 /ly
                3231 GLYNN AVENUE, BRUNSWICK, GA 31520 PHONE (912) 265-9006 FAX (912) 265-7200
               Case 2:18-cv-00020-LGW-BWC Document 27 Filed 09/12/18 Page 3 of 4
Jun 02 2017 08:50AM OMRI 9127294122                             page i

      Report: TEED.SHEILA                                                                                       Page 1 of2



        TEED.SHEILA                                                                                             MRN: 17032



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                                                                                       £Agdftad,GA 31$4S
                                                                              Vht(912)729-2600 F« <912)729-4122


                                               Sludy Arrival Dale: 03/30/2017 1:14 PM EDT
                                              Report Approval Date:06/02A1017 9:11 AM EDT

                                                                                       STUDY
                            PATIENT                                              Date: May 30,201712:18:54
                      Name: TEED,SHEILA                             institution Name: OPEN MRIOF CAMDEN
                       Mm:17032                                  Referring Physician: TOPP
                     Gender: f                                 Performing Physician: NONE
                        Age:065Y                                      Modality Type: MR
                    Birthday:         1952                               Description; LSP
                                                                        BodyPart(s);-L_SPINE
                            INTERPRETING
                            PHYSICIAN
                      Name: Dr. Megan Deacon Casey


        MRI LUMBAR SPINE WITHOUT CONTRAST

        Clinical history: Low back pain with numbness in tailbpne status post fall 4/17/2017.

        Comparison: None.

        Technique: Multiplanar multisequence MR imaging ofthe lumbar spine performed without intravenous
        contrast. Examination was performed on a low fleld magnet.

        Findings:
        There is straightening ofthe lumbar lordosis which may be positional or related to muscle spasm. Vertebral
        body heights are maintained. SchmorPs node superior endplate ofLI.Marked disc hei^t loss at L5-S1 and to
        a lesser extent at L4-L5. Multilevel disc desiccation L2-L3,L3-L4,L4-L5,and L5-S1. No epiduial collections
        or masses. The conus terminates at the T12 level. Bilateral large perineural cysts at the S2 level.

        Incidental note is made ofa 1 cm gallstone without evidence for acute cholecystitis.

        T]2-L]: Disc space is preserved. Central canal, facets, and neural foramen are within normal limits.

        LI-L2: Disc space is preserved. Central canal,facets, and neural foremen are within normal limits.

        L2-L3: Circumferential disc bulging with a 2 mm annular tear, probably acute. There is flattening ofthe
        ventral thecal sac. Mild neural foramina!stenosis bilaterally secondary to fbraminaJ disc components and facet
        hypertrophy.




       https://vm.nuancepowershare.com/Views/reports/reportV3ew.jsp?repoitID=7928767&forma... 6/2/2017
          Case 2:18-cv-00020-LGW-BWC Document 27 Filed 09/12/18 Page 4 of 4
 Summary View for Teed, Sheila                                                                          Page 2of2

   exposure; smoker for 50 yrs 1 ppd - quit Irt 2015. As of 2/2016 - still smokes occasionally,.
   Medications: Taking Aspirin 81 MG Tablet Chewable 1 tablet Orally Once a day, Not-Taklng/PRN Lamlsll
   250 MG Tablet 1 tablet Orally Once a day. Discontinued ZIthromax Z-Pak 250 MG Tablet 2 tablets on the
   first day, then 1 tablet dally for 4 days Orally Once a day. Discontinued Doxycydlne Hyclate 100 MG Tablet 1
   tablet Orally every 12 hrs, Discontinued Proventil HFA 108(90 Base) MCG/ACT Aerosol Solution 2 puffs as
   needed Inhalation every 4 hrs. Medication List reviewed and reconciled with the patient
   Allergies: Augmentin: HA; Side Effects, Simvastatin: leg pain and swelling, "all statins"; Side Effects,
   Doxycydine Hyclate: rash; Allergy.

 Objective:
   Vitals: Wt 138.4, Ht 70, Temp 96.7, BP 124/67 mm Hg, HR 71 /min, BMI 19.86, RR 18, Oxygen sat% 99,
   Ht-cm 177.8, Wt-kg 62.78.
   Examination:
     General Examination:
        Chief Complaint Llndsey Mills, LPN .
        Vital signs obtained by: Llndsey Mills, LPN .
        OB/GYN Update (women only) Llndsey Mills, LPN.
        Medication reconciliation Llndsey Mills, LPN .
     General Examination:
        MUSCULOSKELETAL: There is Minimal tenderness to palpation of midllne spine paralumbar muscles.
  Straight leg raise Is positive bilaterally and sitting straight leg is also positive bilaterally left greater than
  light. She Is unable to complete Faber maneuver due to Increased pain. DTRs are 2+ and equal at the knees
  bilaterally but unable either ankle. Strength Is 5/5 lower extremity muscle groups tested Including flexion
  and extension at the knees, abduction and adduction of the hips, flexion and extension at the ankles..

Assessment:
  Assessment:
  1. Cervical lymphadertopathy - R59.0
  2. Lumbar radiculopathy, acute - M54.16 (Primary)

Plan:
  1. Lumbar radiculopathy, acute
      Imaging; X rav : Spines, lumbar complete
  Notes: Bilateral lumbar radlcular symptoms In the setting of post Injury with known prior spinal disease In
  the cervical spine. Patient has symptoms and findings that could be suggestive of hernlated nucleus
  pulpqsus and/or spinal stenosis. Start with lumbar spine plain films with flexion and extension as well as
  physical therapy. Proceed with MRI Imaging If not Improving. No new medication will be given as she are he
  has failed palh. meds NSAIDs and steroids.
  2. Cervical lymphadenopathy
  Notes: Ongoing anterior cervical lymphadenopathy on the left. We'll send to otolaryngology for evaluation
  consider biopsy of the lymph node. She also has been through multiple courses of antibiotics and steroids
  with no change;
  Referral To;Otolaryngology
             Reason;ENT for right.sided lymph note, ant cervical chain




Provlden Jay Fioyd, MD
Patient: Teed, Sheila DOB: ^ /: /1952 Date: 05/02/2017

Electronically signed by Jay Floyd,MD on 05/03/2017 at02;34 FM EDT
Sign oiTstatus: Pending    ■




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